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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA,

        Plaintiff,
                                                    Civ. No. 2:23-cv-735
        v.
                                                    Judge Barbier (Section “J” (5))
 DENKA PERFORMANCE ELASTOMER,
 LLC, et al.                                        Magistrate Judge North

        Defendants.


        CONSENT MOTION FOR MODIFICATION OF PROTECTIVE ORDER

       The United States respectfully requests, with the consent of the Parties, that the Court

enter the proposed minor modification to the Protective Order (ECF No. 53). Counsel for the

United States has conferred with counsel for both Defendants. All agree that this motion is filed

with the consent of all parties.

       On May 5, 2023, the Court entered a Stipulated Protective Order (ECF No. 53) (the

“Protective Order”). The order was modeled on Magistrate Judge North’s sample protective

order, with certain deviations from the sample that the Parties agreed upon and that the United

States summarized for the Court in its consent motion seeking the order (including via a

redline/markup of the proposed stipulated protective order). See ECF No. 51 (filed May 3,

2023). The Protective Order, as entered by the Court, allows the Plaintiff and Defendants to

invoke its protections when producing documents, but it does not apply to persons responding to

a subpoena served in connection with this action.

       The United States has served a subpoena on E.I. du Pont de Nemours and Co. (“E.I.

DuPont”), a corporate relative of Defendant DuPont Specialty Products USA, LLC, seeking

documents relating to an Asset Purchase and Sale Agreement pursuant to which Defendant



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Denka Performance Elastomer LLC (“Denka”) purchased the Neoprene manufacturing business

that is central to this case from E.I. DuPont. Counsel for E.I. DuPont has represented to counsel

for the United States that some of the materials responsive to the subpoena are trade secret

information or confidential business information. E.I. DuPont would like to limit the use and

disclosure of such information. Accordingly, the United States and E.I. DuPont have negotiated

a minor modification of the Protective Order that would allow a respondent to a subpoena issued

in connection with this action to invoke the Protective Order to the same extent as Plaintiff and

Defendants.

       WHEREFORE, the United States respectfully requests, with the consent of the Parties,

that the Court enter the proposed minor modification to the Protective Order (ECF No. 53).



                                              Respectfully submitted,

                                              FOR THE UNITED STATES OF AMERICA


 December 4, 2023                           s/Steven D. Shermer
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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 4, 2023, a true and correct copy of the United States’
Consent Motion to Modify Protective Order and Proposed Order were filed with the Clerk of the
U.S. District Court for the Eastern District of Louisiana using the Court’s CM/ECF system.
Notice of this Electronic Filing will be sent to all parties by operation of the Court’s Electronic
Filing System.



                                                    s/Steven Shermer
                                                    Steven D. Shermer




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